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                              IN THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF SOUTH CAROLINA
                                      CHARLESTON DIVISION

       The Sustainability Institute et al.,                 Case No. 2:25-cv-2152-RMG

                        Plaintiffs,
                 v.
                                                            ORDER
       Donald J. Trump, in his official capacity as
       President of the United States, et al.
                        Defendants.


               The Court conducted a hearing on April 23, 2025 to address the issue of jurisdiction and

 review recent developments regarding the grants at issue in this case. The Court memorializes and

 supplements its rulings from the bench at the April 23 hearing in two sections below. First, the

 Court addresses the issue of jurisdiction. Second, the Court addresses supplementing the record.

I.      Jurisdiction
               Plaintiffs bring this case under the United States Constitution and the APA, 5 U.S.C.

  §§ 702, 704, alleging that Defendants improperly froze Plaintiffs’ grant funds appropriated by

 Congress under the Inflation Reduction Act (“IRA”) and the Infrastructure Investment and Jobs

 Act (“IIJA”). Defendants argue that this court lacks subject matter jurisdiction to hear Plaintiffs

 claims because (A) the Tucker Act provides the Court of Federal Claims with exclusive

 jurisdiction over Plaintiffs’ claims and (B) Plaintiffs are challenging funding decisions committed

 to agency discretion by law which are not subject to Administrative Procedure Act (“APA”)

     review.

        A. Tucker Act
               “Absent a wavier, sovereign immunity shields the Federal Government and its agencies

     from suit.” F.D.I.C. v. Meyer, 510 U.S. 471, 475 (1994); see United States v. Mitchell, 463 U.S.

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206, 212 (1983) (“It is axiomatic that the United States may not be sued without its consent and

that the existence of consent is a prerequisite for jurisdiction.”).

        The Tucker Act confers jurisdiction upon the Court of Federal Claims over specific

categories of actions brought against the United States and waives the Government’s sovereign

immunity for those actions. 28 U.S.C.A. § 1491, see Fisher v. United States, 402 F.3d 1167, 1172

(Fed. Cir. 2005). Specifically, “[t]he Tucker act grants jurisdiction to the United States Court of

Federal Claims ‘to render judgment upon any claim against the United States founded either upon

the Constitution, or any Act of Congress or any regulation of an executive department, . . . or for

liquidated or unliquidated damages in cases not sounding in tort.’” Randall v. United States, 95

F.3d 330, 346 (4th Cir. 1996) (quoting 28 U.S.C. § 1491). “Jurisdiction is exclusive in the Court

of Federal Claims for claims over $10,000, while district courts have concurrent jurisdiction with

the Court of Federal Claims for claims at or under $10,000.” Coleman v. Kendall, 74 F.4th 610,

615 (4th Cir. 2023), cert denied, 144 S. Ct. 818 (2024) (citing Randall, 95 F.3d at 347).

        The APA also offers a waiver of sovereign immunity and entitles “a person suffering legal

wrong because of any agency action” to seek “judicial review thereof.” 5 U.S.C. § 702. Section

702 of the APA specifies that sovereign immunity is not available as a defense when the party

seeks “relief other than money damages” against the United States or its agencies. 5 U.S.C. § 702;

Bowen v. Massachusetts, 487 U.S. 879, 891-92 (1988) (stating that Congress amended § 702 in

1976 to “broaden the avenues for judicial review of agency action be eliminating the defense of

sovereign immunity” in suits “seeking relief other than money damages.”). Section 704 of the APA

specifies that judicial review of agency action may be had when “there is no other adequate remedy

in a court.” 5 U.S.C. § 704. Therefore, courts interpreting sections 702 and 704, have held that for

the APA’s waiver of sovereign immunity to apply, a claim must (1) request “relief other than

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money damages” and (2) show no “adequate remedy” is available elsewhere, such as in the Court

of Federal Claims under the Tucker Act. See Doe v. United States, 372 F.3d 1308, 1312 (Fed. Cir.

2004).

         “The interplay between the Tucker Act and the APA is somewhat complicated and raises

some significant issues of federal court jurisdiction.” Randall, 95 F.3d at 346. As discussed, “[t]he

APA allows private parties to sue the federal government in district court over final agency actions,

so long as they seek relief other than monetary damages ‘for which there is no other adequate

remedy in a court.’” Coleman, 74 F.4th at 615 (quoting Randall, 95 F.3d at 346). And “[c]laims

for money, by contrast, proceed under the Tucker Act and in the Court of Federal Claims.”

Williams v. Roth, No. 8:21-CV-02135-PX, 2022 WL 4134316, at *5 (D. Md. Sept. 12, 2022)

(citing 28 U.S.C. §§ 1346(a)(2), 1491). To that end, “where ‘a plaintiff has an adequate remedy by

suit under the Tucker Act,’ they are precluded from review under the APA.” Coleman, 74 F.4th at

615 (quoting Randall, 95 F.3d at 346); see also Maine Cmty. Health Options v. United States, 590

U.S. 296, 324 (2020) (noting the flip side of the same coin: “[t]he Tucker Act yields when the . . .

Administrative Procedure Act. . . provides an avenue for relief”).

         There is a “distinction between an action at law for damages—which are intended to

provide a victim with monetary compensation for an injury to his person, property, or reputation—

and an equitable action for specific relief . . . .” Bowen, 487 U.S. at 893. A claim for specific relief

through declaratory judgment or injunction that requires the federal government to pay money to

plaintiffs does not automatically transform the action into one for money damages. Id. (“The fact

that a judicial remedy may require one party to pay money to another is not a sufficient reason to

characterize the relief as ‘money damages.’”); Harrison v. Kendall, 670 F.Supp.3d 280, 297 (E.D.

Va. 2023) (“[a] suit which does not seek monetary damages does not arise under the Tucker Act

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simply because the plaintiff’s success will result in eventual monetary gain from the

government.”). Instead, “[t]o determine whether a plaintiff seeks primarily injunctive relief such

that a district court has jurisdiction over his claim, courts must look to the ‘essence’ of the

complaint and whether the relief requested is ‘not . . . an incident of, or collateral to, a monetary

award.’” Coleman, 74 F.4th at 615-16 (quoting Randall, 95 F.3d at 346).

         “The classification of a particular action as one which is or is not ‘at its essence’ a contract

action depends both on the source of the rights upon which the plaintiff bases its claims, and upon

the type of relief sought (or appropriate).” Megapulse, Inc. v. Lewis, 672 F.2d 959, 968 (D.C. Cir.

1982).

         The Court discusses the elements of the Megapulse framework in turn below.

         1. Source of Rights
         Defendants argue that Plaintiffs’ source of rights stem from their grant agreements with the

government. (Dkt. No. 56 at 10-11). Defendants point to language in Plaintiffs’ motion for

preliminary injunction and their amended complaint where Plaintiffs assert that they have entered

into binding agreements with the government; that the government has provided funding up to a

specified dollar amount, over a specified time period, for specified work; and that the government

has not abided by the grant agreements and regulations. (Id.) Defendants further argue that

Plaintiffs characterized the remedy they are seeking as simply requiring the government to honor

commitments it has already made to Plaintiffs in binding grant agreements. (Id. at 11).

         Plaintiffs argue that their claims are not based on contract, but instead are rooted in the

Constitution and the grant programs’ respective authorizing statutes. (Dkt. No. 64 at 5). In their

amended complaint, Plaintiffs explicitly ask the Court to interpret and enforce federal law, not the

individual grants. (Dkt. No. 23 at 77-88). In counts I and II of the amended complaint, Plaintiffs

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contend that Defendants freezing actions violate separation of powers and were done ultra vires.

(Id. at 77-81). Specifically, Plaintiffs allege that Defendants did not have any statutory, regulatory,

or constitutional authority to indefinitely freeze congressionally appropriated funds and that the

Defendants’ actions usurped Congress’ constitutionally authorized spending and legislative

powers. (Id.) In count III, Plaintiffs allege that Defendants actions were arbitrary and capricious

and violate the APA because Defendants froze all IRA and IIJA funding relying on factors which

Congress did not intend them to consider. (Id. at 81-83). In count IV, Plaintiffs allege that

Defendants violated the APA because Defendants actions are contrary to the IRA and IIJA and are

not in accordance with the statutory requirements to create, fund, and carry out the grant programs.

(Id. at 83-85). In count V, Plaintiffs allege that Defendants freezing actions violate the First

Amendment of the Constitution because Defendants targeted federal funding recipients based on

their viewpoint. (Id. at 85-87). And in count VI, Plaintiffs allege that Defendants actions violate

the IRA and IIJA because Defendants are statutorily required to carry out the congressionally

mandated to obligate and distribute the funds that Congress appropriated for the grant programs.

        Additionally, Plaintiffs prayer for relief requests, among other things, declaratory

judgments that Defendants actions violated the Constitution, statutory provisions enacting and

appropriating funds to Plaintiffs grant programs, and the APA; an injunction prohibiting

Defendants from otherwise impeding, blocking, cancelling, or terminating Plaintiffs’ access to

their grant funds; and an order setting aside Defendants actions to freeze or terminate the grants.

(Id. at 89-91).

        Based on the Court’s review of the Complaint, the Court finds that Plaintiffs’ claims do

not turn on the terms of a contract between the parties. None of Plaintiffs’ claims are based on

Defendants failure to perform obligations in the grant awards. Plaintiffs are not seeking judicial

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review of the grant agreements between the parties. Instead, they have asked the Court to review

and interpret federal laws. That Plaintiffs’ action implicates agreements for federal funds does not

transform the action into one for money damages. The source of the rights alleged in this action is

federal law—namely the IRA, IIJA, and the Constitution—not any obligations outlined in the grant

awards.

       2. Type of Relief Sought
       Defendants argue that Plaintiffs seek monetary relief because their claims are tied to

Plaintiffs accessing federal funds. (Dkt. No. 56 at 11). Defendants further argue that the Court of

Federal Claims could provide the Plaintiffs complete relief because Plaintiffs are requesting the

monetary amounts awarded by the grants, which, in Defendants’ view, are specific sums already

calculated and past due.

       It is now axiomatic that there is a “distinction between an action at law for damages,” which

provides monetary compensation, and “an equitable action for specific relief,” which might

nonetheless require monetary relief. Bowen, 487 U.S. at 893; see Great-West Life & Annuity Ins.

Co. v. Knudson, 534 U.S. 204, 213 (2002) (“[W]hether [restitution] is legal or equitable depends

on ‘the basis for [the plaintiff's] claim’ and the nature of the underlying remedies sought.” (quoting

Reich v. Continental Casualty Co., 33 F.3d 754, 756 (7th Cir. 1994) (Posner, J.))). Simply because

“a judicial remedy may require one party to pay money to another” does not necessarily

“characterize the relief as ‘money damages.’” Bowen, 487 U.S. at 893. A hallmark of such

equitable actions is the existence of prospective relief in ongoing relationships. Compare Bowen,

487 U.S. at 905 (holding the district court had jurisdiction because declaratory or injunctive relief

was appropriate to clarify petitioner state's ongoing obligations under the Medicaid plan), with Me.

Cmty. Health Options v. United States, 590 U.S. 296, 298 (2020) (holding that petitioners properly

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relied on the Tucker Act to sue for damages in the Court of Federal Claims because plaintiffs were

strictly concerned with “specific sums already calculated, past due, and designed to compensate

for completed labors”).

       The Court finds Bowen especially instructive here. “The principal question presented [in

Bowen] is whether a federal district court has jurisdiction to review a final order of the Secretary

of Health and Human Services refusing to reimburse a State for a category of expenditures under

its Medicaid program.” Bowen, 487 U.S. at 882. The Supreme Court held the district court had

subject matter jurisdiction over the suit. Id. at 912. The plaintiff, Massachusetts, sought prospective

relief which was “important to the Commonwealth both because the . . . program [at issue was]

still active and because the legal issues involved [had] ramifications that affect[ed] other aspects

of the Medicaid program. What [was] at stake . . . [was] the scope of the Medicaid program, not

just how many dollars Massachusetts should have received in any particular year.” Id. at 889–90.

Thus, the Supreme Court held the Court of Federal Claims was unable to provide an adequate

remedy. Id. at 904.

       Plaintiffs primary purpose in brining their claims is to seek equitable, not monetary, relief.

They do not bring claims for past pecuniary harms. Rather, like the plaintiffs in Bowen, Plaintiffs

claims are to preserve their ongoing and prospective agreements with the Government. Plaintiffs

have an ongoing relationship with the government and seek declaratory and injunctive relief to

confirm the Government’s future obligations towards Plaintiffs under the IRA and IIJA. Plaintiffs’

claims are about the process in which their grants were frozen, not the monetary awards in the

grants themselves.

       Additionally, the harms that Plaintiffs allege can only be remedied by specific, not

monetary, relief. Plaintiffs state that the blanket IIJA and IRA funding freezes will result in lost

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jobs, suspension of research and community initiatives, loss of goodwill, and harm to the Plaintiffs’

reputation. Money damages will not resolve those alleged harms.

       Specifically, loss of goodwill and harm to Plaintiffs’ reputation cannot be remedied by

monetary damages. Some of the Plaintiffs here have devoted resources to build trust and

relationships in the communities in which they serve, and those Plaintiffs now fear that the trust

and relationships they built may be broken. For example, Plaintiff Pennsylvania Association for

Sustainable Agriculture (“Pasa”) is a non-profit organization that supports farmers’ goals of

creating economically viable, environmental sound, and community-focused farms and food

systems. Pasa is largely funded by federal grants. It’s largest grant award, $50 million from the

Untied States Department of Agriculture Natural Resources and Conservation Service Partnership

for Climate-Smart Commodities program, was frozen and is subject in this lawsuit. When applying

for that award, Pasa built trust and relationships with farmers in their communities, the people Pasa

endeavored to serve with the grant funds. Pasa now fears that the continued freezing of funds may

force them to abandon the very farmers who entrusted them with their time and their land. Those

relationships are also tested by the uncertainty surrounding federal funds caused by the funding

freeze. Pasa states that, if the trust between Pasa and the farming community is broken, it is

impossible to estimate how long it may take to repair those relationships. (Dkt. No. 24-13).

       Even if the total grant funds could be restored by a damages award in the Court of Federal

Claims, such a damage award would not alleviate the reputational harms Plaintiffs would likely

suffer. The farmers, for example, may be hesitant to work with Pasa in the future in fear that an

agency’s funding decision may change overnight and disrupt critical operations, such as seasonal

planting and harvesting. Under these circumstances, declaratory relief establishing that blanket

freezes of grants done without individualized process and without legal authority are improper is

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critical to provide to provide Plaintiffs effective relief. Such relief, if granted, would provide

Pasa’s clients with the assurance that any federal funds that they plan to rely on will only be frozen

or cancelled through actual authority provided by federal laws and after the funding agency follows

the lawful process. This example emphasizes that Plaintiffs’ claims are about process, not

damages, and are available only through the equitable powers of the district court under the APA.

       Since the Court finds that the proper source of Plaintiffs’ rights is federal law and because

the relief sought is declaratory and injunctive in nature, the Court finds that the “essence” of the

Plaintiffs’ claims is not contractual in nature. Plaintiffs’ claims cannot properly be brought under

the Tucker Act in the Court of Federal Claims and fall plainly within the jurisdiction of this Court

under the APA.

       3. Department of Education v. California
       Defendants contend that the Supreme Court’s recent issuance of an emergency stay order

in a three-page decision, issued without benefit of a record or oral argument, definitively disposes

of all jurisdictional issues in this case. The Court finds Defendants’ argument unpersuasive.

       In Department of Education v. California, the Supreme Court stayed a district court’s

temporary restraining order pending the resolution of the appeal in the underlying case. California,

2025 WL 1008354, at *2. At the district court, plaintiffs sought preliminary relief enjoining the

Government from terminating grant awards under programs administered by the United States

Department of Education. California v. U.S. Department of Education, No. 25-105488-MJJ, 2025

WL 760825, at *1 (D. Mass. Mar. 10, 2025). The District Court for the District of Massachusetts

granted injunctive relief against the government. Id. at *5. The Government appealed the district

court’s order and requested a stay pending the appeal. California v. U.S. Department of Education,

No. 25-1244, 2025 WL 878431, at *1 (1st Cir. Mar. 21, 2025). The First Circuit Court of Appeals

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denied the Government’s request to stay the district court’s order pending appeal. Id. at *1. The

Government then filed an emergency application to the Supreme Court requesting the Court vacate

the district court’s temporary restraining order and immediately stay the case pending the

disposition of the Government’s appeal. California, 2025 WL 1008354, at *1. The Supreme Court

granted the application and stayed the district court’s order. The Court reasoned that a stay is

appropriate because (1) “the Government is likely to succeed in showing the District Court lacked

jurisdiction to order the payment of money under the APA,” (2) the Government is likely to suffer

irreparable harm, and (3) “respondents would not suffer irreparable harm while the TRO is stayed.”

Id.

        In finding that the Government is likely to succeeded in showing the District Court lacked

jurisdiction to order payment of money under the APA, the Supreme Court very briefly discussed

the jurisdictional line between the APA and Tucker Act. The Supreme Court noted that the APA’s

waiver of sovereign immunity does not apply to claims seeking money damages, but also

reaffirmed the general rule that “a district court’s jurisdiction ‘is not barred by the possibility’ that

an order setting aside an agency’s action may result in the disbursement of funds.” Id. (quoting

Bowen, 487 U.S. at 910). The Supreme Court further noted that “the APA’s limited waiver of

sovereign immunity does not extend to orders ‘to enforce a contractual obligation to pay money’

along the lines of what the [district court in California] ordered . . . .” Id. (quoting Great-West Life

& Annuity Ins. Co. v. Knudson, 534 U.S. 204, 212 (2002)). Instead, the Supreme Court stated that

“the Tucker Act grants the Court of Federal Claims jurisdiction over suits based on ‘any express

or implied contract with the United States.’” Id. (quoting 28 U.S.C. § 1491(a)(1)).

        The California ruling is not dispositive of the jurisdictional questions in this case for three

reasons.

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       First, the California ruling was made in the context of an emergency application for a stay

pending appeal. In that procedural posture, the Supreme Court relied on limited briefing and did

not have the benefit of oral argument or a factual record. Additionally, the Supreme Court applied

a likelihood of success standard to the Government’s application for a stay, stopping well short of

addressing the complex jurisdictional issues on the merits. Without a factual record, meaningfully

addressing the jurisdictional issues under Bowen would not have been possible. Under these

circumstances, the Supreme Court’s brief treatment of Bowen and Great-West Life in California

and the cursory mention of potential jurisdictional issues do not appear to definitively address the

jurisdictional issues in this case. The Court therefore finds that, Bowen, not the emergency stay

order in California, is the guiding compass in deciding whether the Court has jurisdiction under

the APA or the Court of Claims has jurisdiction under the Tucker Act.

       Second, the terms and conditions of the individual grants are not at issue here. In

California, the First Circuit Court of Appeals determined that “the terms and conditions of each

individual grant award” were “at issue.” California v. U.S. Dep't of Educ., 132 F.4th 92, 96-97 (1st

Cir. 2025). On appeal, the Supreme Court then granted the Department's application for a stay

because it concluded that the district court issued an order “to enforce a contractual obligation to

pay money” and “the Government is likely to succeed in showing the District Court lacked

jurisdiction to order the payment of money under the APA.” California, 2025 WL 1008354, at *1.

In this case, the terms and conditions of each individual grant are not at issue. Rather, this case

deals with Defendants’ implementation of a broad, categorical freeze on obligated funds pending

determinations on whether it is lawful to summarily freeze or terminate disbursements of such

funds. Plaintiffs here allege that the categorical funding freeze was not based on individualized



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assessment of any particular grant terms and conditions or agreements between the Parties but,

instead, was based on the grants being funded by the IRA and IIJA.

       Third, there are still other factors the Supreme Court considered in ruling in California

which are not relevant or present here. The issuance of a stay is dependent upon the circumstances

of the particular case, and the Supreme Court’s finding that the District Court likely lacks

jurisdiction is just one of the factors it considered. The Supreme Court also considered potential

harm to the parties and public interest when issuing the stay. The combination of those factors

guided the Supreme Court in making its judgment. Those factors are not relevant to the Court’s

determination here. And even if they were relevant, they are not present in this case. For example,

unlike in California there is no indication in this case that the Plaintiffs could not or would not pay

the money back if so ordered. Additionally, Plaintiffs have provided considerable evidence of

irreparable harm should they not regain access to their grant funding. This is different from

California where the Supreme Court specifically found that the State government could fund the

affected programs during the pendency of the litigation, effectively eliminating a major portion of

the California plaintiffs’ irreparable harm claim. California, 2025 WL 1008354, at *1.

       In sum, considering the full record before the Court, the clear statutory authority for APA

jurisdiction where a party is seeking relief from agency action other than money damages, and the

well-established standards set forth in Bowen, the Court finds that it has jurisdiction over this

matter under the APA.

   B. Agency Discretion
       Defendants argue that their actions to freeze the grant funds were committed to agency

discretion by law and fall outside the scope of permissible judicial review under the APA. (Dkt.

No. 56 at 14-16).

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       As discussed above, APA provides “[a] person suffering legal wrong because of agency

action, or adversely affected or aggrieved by agency action within the meaning of a relevant

statute, is entitled to judicial review thereof.” 5 U.S.C. § 702. “That language sets up a ‘basic

presumption of judicial review’ of agency action.” Holbrook v. Tennessee Valley Auth., 48 F.4th

282, 287 (4th Cir. 2022) (quoting Abbott Lab'ys v. Gardner, 387 U.S. 136, 140 (1967)). The text

carves out two exceptions to that “basic principle.” Id. First, where “statutes preclude judicial

review” per § 701(a)(1); and second, where “agency action is committed to agency discretion by

law” per § 701(a)(2). Holbrook, 48 F.4th at 287. With regard to the second, “[a]gency action is

committed to the agency's discretion when no judicially manageable standards are available to

assess how and when an agency should exercise its discretion such that a court would have ‘no

law to apply.’” Pharm. Coal. for Patient Access v. United States, 126 F.4th 947, 964 (4th Cir.

2025) (quoting Heckler v. Chaney, 470 U.S. 821, 830–31 (1985)). Of import here, the APA's

prohibition of judicial review of actions committed to agency discretion by law, and a defect

related thereto, “goes to subject matter jurisdiction.” Id. (citing Angelex Ltd. v. United States, 723

F.3d 500, 505–506 (4th Cir. 2013)).

       Defendants primarily rely on the Supreme Court’s opinion in Lincoln v. Vigil to support its

argument on agency discretion. 508 U.S. 182 (1992). In Lincoln, the Court found an agency's

particular use of funds from a “lump sum” grant was committed to its discretion because “the very

point of a lump-sum appropriation is to give an agency the capacity to adapt to changing

circumstances and meet its statutory responsibilities in what it sees as the most effective or

desirable way.” Lincoln, 508 U.S. at 192. That is, “a lump-sum appropriation reflects a

congressional recognition that an agency must be allowed flexibility to shift funds within a



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   particular appropriation account so that the agency can make necessary adjustments for unforeseen

   developments and changing requirements.” Id. at 193 (internal citation omitted).

             Here, there is no indication that Congress intended to commit funding under the IRA and

  IIJA to the agencies’ discretion. Defendants have not pointed to any evidence showing that this

   was Congress’ intention. And this case does not involve an agency’s allocation of funds under a

   lump-sum grant by Congress (which by its nature implies delegation of wide discretion to the

   agency). Because Defendants have not shown that the funds at issue here were committed to

   agency discretion, the Court declines to apply the 5 U.S.C. § 701(a)(2) exception to the APA’s

   waiver of sovereign immunity here.

II.      Supplementation of the Record and the Process Going Forward
             When this case was initially filed on March 19, 2025, Plaintiffs alleged that their grants,

   totaling 38, had been frozen 1 because the funds for those grants had been appropriated under two

   Acts of Congress now disfavored by the present Administration: the Inflation Reduction Act (IRA)

   and the Infrastructure Investment and Jobs Act. (IIJA). (Dkt. No. 1 at 2). At oral argument before

   the Court on April 23, 2025, Defendants’ counsel was unable to provide the Court any estimate of

   the number of grants which had been summarily frozen since January 20, 2025, but he

   acknowledged that grants had been frozen on a mass, not individualized, basis. 2

             In response to a recent Order directing Defendants to provide a status report on the 38

      grants at issue in this litigation, Defendants submitted a chart which indicated that the funding of

      13 grants had been restored, four of the grants had been terminated, and 12 of the grants had


   1
     As used in this Order, the terms “frozen” or “freeze” have the same meaning as a “pause” in
   funding or any other action that disrupted the normal flow of grant funds to the grantees.
   2
     This was corroborated by the fact that in the thousands of pages of records produced by
   Defendants relating to the freezing of grants at issue in this litigation, the Court could not locate a
   single document (other than four termination letters) which referenced any individual grantee.
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terminations being processed. (Exhibit A). It appears to the Court that the Defendants’ chart

reflects a pivot away from the summary freezing of grants in mass. Defendants appear now to be

turning their focus to a narrower set of grants allegedly sought to be terminated because they are

allegedly not consistent with “agency policy.” At the hearing of April 23, 2025, Defendants’

counsel could not provide the Court any additional justification for the termination or proposed

termination of any of the grants in this litigation. Questions also arose at the recent hearing

regarding the status of certain grants.

       In an effort to obtain greater specification of the reasons for the proposed termination of

certain grants and a better understanding of the present status of several other grants, the Court

orders Defendants to provide the following within seven days of this Order:

       1. All documents prepared, received, possessed or transmitted from January 20, 2025 to

           the present relating to the termination of the grants set forth in Exhibit A at Nos. 9, 10,

           11, and 12 and the proposed termination of grants set forth at Nos. 2, 3, 4, 5, 6, 7, 27,

           28, 29, 30, 31, and 32.

       2. All documents prepared, received, possessed or transmitted from January 20, 2025 to

           the present relating to the freezing of funds set forth in Exhibit A at Nos. 16, 22, and

           23.

       3. All documents prepared, received, possessed or transmitted from January 20, 2025 to

           the present relating to the decision to finalize or not to finalize the grant awards set

           forth in Exhibit A at Nos. 37 and 38.

       4. All documents prepared, received, possessed or transmitted from January 20, 2025 to

           the present relating to the status of the grant set forth at Exhibit A at No. 15. Exhibit A

           lists No. 15 as “accessible to grantee” but Plaintiffs indicate this grantee has been

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           unable to access the funds. To the extent the grant remains frozen or slated for possible

           termination, produce all relevant documents.

       5. All documents prepared, received, possessed or transmitted from January 20, 2025 to

           the present relating to the status of the grant set forth at Exhibit A at No. 8. Exhibit A

           lists this grant as “closed,” and Plaintiffs assert that to their knowledge the grant is

           frozen. To the extent the grant remains frozen or is slated for possible termination,

           produce all relevant documents.

       6. All documents prepared, received, possessed or transmitted from January 20, 2025 to

           the present in which Defendants were instructed and/or advised that all grants

           authorized by the IRA or the IIJA were to be frozen.

       7. The Court previously gave Defendants until April 21, 2025 to supplement their

           privilege logs regarding the deliberative process privilege. (Dkt. No. 77). Per

           Defendants’ request, the Court extends the time to supplement the privilege logs until

           7 days following the issuance of this order and only the privilege logs of Defendants

           EPA and USDA need to be addressed.

       In the event that any Defendant asserts any privilege in regard to any of the documents

required to be produced in Paragraphs 1-7 above, such documents must be identified in an

appropriately documented privilege log and must be submitted to the Court under seal and ex parte

for in camera review within seven days of this Order.

       Additionally, to avoid the confusion created by Defendants producing thousands of

documents in response to this Court’s earlier order without identifying which particular discovery

request Defendants were responding to, the Court orders and directs that Defendants respond to

each discovery request above separately and clearly identify which documents are responsive to

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each discovery request. This directive applies both to responses to discovery requests in which no

privilege is asserted as well as all documents produced ex parte and in camera based on an

assertion of privilege.

       Once Defendants comply with their discovery obligations to the Court above, Plaintiffs

may file a response to the submitted documents and address any other issues related to the

production of documents and/or their pending motion for a preliminary injunction with seven days

after receipt of the Plaintiffs’ responses required in Paragraphs 1-7 above.

       Finally, in regard to the grants which Defendants have identified as now unfrozen in

Exhibit A at Nos. 13, 14, 15, 16, 17, 18, 20, 21, 24, 25, 26, 34, 35 and 36, Defendants are ordered

and directed not to subsequently freeze or terminate these grants without notice to the Court and

authorization from the Court that the freezing and/or terminating of the grants may proceed.




                                                      _s/ Richard Mark Gergel___
                                                      Richard Mark Gergel
                                                      United States District Judge

April 29, 2025
Charleston, South Carolina




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